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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

WINTER INVESTORS, LLC, et al.,

                          Plaintiffs,
                                                    14 Civ. 6852 (KPF)
                   -v.-
                                                          ORDER
SCOTT PANZER, et al.,

                          Defendants.

KATHERINE POLK FAILLA, District Judge:

      On June 5, 2019, following the parties’ settlement conference with

Magistrate Judge Aaron, Plaintiffs filed a notice of voluntary dismissal against

Defendants Paul Frischer, Frischer Kranz Inc., JS3 Alternative Investments,

LLC, Scott Panzer, SMP Realty NM, LLC, and Jesse Stein. (Dkt. #130). Prior to

that, on May 9, 2019, the Court entered Default Judgment against Defendants

Etr Investors Holdings, LLC, Etre Financial, LLC, f/k/a Etre Financial

Holdings, LLC, Etre Financial Holdings, LLC and Etre Financial, LLC, (Dkt.

#118, 127). On June 7, 2019, the Court referred Plaintiffs to Magistrate Judge

Aaron for an inquest as to damages. (Dkt. #132).

      The Court now addresses the remaining pro se Defendants Eve, LLC; Sol

Mayer; and Eli Verschleiser, beginning with the pro se corporate Defendant.

On May 9, 2019, the Court issued an order reminding Mr. Verschleiser that

Defendant Eve, LLC, as a corporation, cannot proceed pro se, and directing

Eve, LLC to obtain counsel who would enter a notice of appearance on or before

June 7, 2019, in order to avoid default. (Dkt. #118). As of June 10, 2019, Eve,
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    LLC has not complied with the Court’s order. The Clerk of Court is hereby

    ORDERED to enter a default judgment as to Defendant Eve, LLC.

           With regards to pro se Defendants Sol Mayer and Eli Verschleiser, both

    individual Defendants recently wrote to the Court asking the Court not to enter

    default judgments against them, and stating that they planned to participate in

    the mediation. (Dkt. #117, 119). The parties are hereby ORDERED to submit

    a joint status update letter on before June 24, 2019 regarding next steps.

     Dated: June 10, 2019
            New York, New York

                                                       KATHERINE POLK FAILLA
                                                      United States District Judge




A copy of this Order was mailed by Chambers to:
 Sol Mayer
 5008 Old New Utrecht Rd.
 Brooklyn, NY 11204




A copy of this Order was mailed by Chambers to:

 Eli Verschleiser
 44 Wall Street
 New York, NY 10005




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